     Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 1 of 16




                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION
BRIANNA BOE, et al.,                          )
                                              )
       Plaintiffs,                            )
                                              )
v.                                            )    Case No. 2:22-cv-184-LCB
                                              )
STEVE MARSHALL, et al.,                       )
                                              )
       Defendants.                            )

               SUPPLEMENTAL ORDER TO SHOW CAUSE:
                              KATHLEEN HARTNETT
      In May of 2022, the chief judges of the United States District Courts for the

Northern, Middle, and Southern Districts of Alabama convened a three-judge panel

to investigate the propriety of certain filing activity and public statements that had

given the appearance of impermissible judge shopping. The activity under

investigation concerned three related cases—Walker v. Marshall, 5:22-cv-480-LCB

(N.D. Ala. 2022); Ladinsky v. Ivey, 5:22-cv-447-LCB (N.D. Ala. 2022); and this

one—and implicated thirty-nine lawyers. Seventeen months later, the Panel closed

its investigation with an exhaustive 53-page final report, concluding “without

hesitation” that eleven of the lawyers (“the Respondents”) had “purposefully

attempted to circumvent the random case assignment procedures” for the U.S.

District Courts for the Northern and Middle Districts of Alabama—they had, in other

words, impermissibly judge shopped. (Doc. 339 at 51). Given this “misconduct,” the

                                          1
    Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 2 of 16




Panel directed the Clerk of Court to close the case and serve its report on this Court

to “proceed as appropriate.” Id. at 51-52.

      The Court reviewed the Panel’s Final Report of Inquiry, the evidentiary record

and sworn testimony before the Panel, the Respondents’ arguments before the

undersigned at the hearings of November 2 and 21, 2023, the Respondents’ briefing,

and the relevant authorities, and found it appropriate to proceed as to all

Respondents. On February 21, 2024, the Court ordered Melody Eagan, Jeffrey Doss,

Scott McCoy, Jennifer Levi, Shannon Minter, James Esseks, Kathleen Hartnett,

Michael Shortnacy, LaTisha Faulks, Asaf Orr, and Carl Charles to show cause why

they should not be sanctioned for the misconduct outlined in the Panel’s Final Report

of Inquiry and further detailed in the order to show cause. (Doc. 406).

      All Respondents objected to the show-cause order. (Docs. 423, 425, 432, 441,

444 & 447). In their view, the show-cause order infringed each Respondent’s right

to due process by failing to give each one “fair notice that his [or her] conduct may

warrant sanctions and the reasons why,” United States v. Shaygan, 652 F.3d 1297,

1318 (11th Cir. 2011), and by applying a “collective” approach to the charge of

misconduct, (see Docs. 423 at 2 & 425 at 2, 4). Michael Shortnacy, Melody Eagan,

Jeffrey Doss, Scott McCoy, and Asaf Orr (Doc. 423), later joined by Kathleen

Hartnett (Doc. 441) and Jennifer Levi and Shannon Minter (Doc. 444), asked for




                                             2
     Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 3 of 16




clarification, moving the Court to issue each Respondent a separate, individualized

show-cause order.

      After briefing on the objections and argument on March 19, 2024, the Court

concluded that the objections were meritless: the show-cause order gave the

Respondents ample notice of the charges against them and satisfied the mandates of

due process under the governing law. (Doc. 466). Even so, in recognition of the

“great weight” of the professional reputations and institutional matters at stake, the

Court agreed to clarify its order and provide unique notice to each Respondent by

issuing eleven separate, individualized show-cause orders. Id. at 21.

      Having found it appropriate to proceed as to all Respondents and clarify by

separate order “the precise rule, standard, or law that he or she is alleged to have

violated and how he or she allegedly violated it,” Shaygan, 652 F.3d at 1319, the

Court hereby ORDERS Kathleen Hartnett to show cause why she should not be

sanctioned for the misconduct set forth below.

I.    LEGAL STANDARDS

      District courts are vested with the inherent power to sanction attorneys for bad

faith conduct that “abuses the judicial process.” Chambers v. NASCO, Inc., 501 U.S.

32, 43-45 (1991). This inherent power is “necessarily vested in courts to manage

their own affairs so as to achieve the orderly and expeditious disposition of cases,”

id. at 43, and it “is both broader and narrower than other means of imposing


                                          3
    Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 4 of 16




sanctions.” Peer v. Lewis, 606 F.3d 1306, 1314 (11th Cir. 2010) (quoting Chambers,

501 U.S. at 46). It is broader in that other authorities limit the court’s sanction power

to “certain individuals or conduct,” while “the inherent power extends to a full range

of litigation abuses”; it is narrower in limiting sanctions to bad faith conduct. Id. at

1314.

        A court may invoke its inherent power to sanction attorneys “even if

procedural rules exist which sanction the same conduct.” Chambers, 501 U.S. at 49.

Courts may also “rely on a variety of other sources of judicial power” to impose

sanctions, including those prescribed by Rule 11 of the Federal Rules of Civil

Procedure and the district court’s local rules. 5A Charles Alan Wright & Arthur R.

Miller, Federal Practice and Procedure § 1336 (4th ed. 2023).

        Before a court can impose sanctions against an attorney for misconduct, it

“must comply with the mandates of due process” by giving the attorney “fair notice

that his [or her] conduct may warrant sanctions and the reasons why.” United States

v. Shaygan, 652 F.3d 1297, 1318 (11th Cir. 2011) (internal quotation marks omitted).

The notice may come by motion from a party seeking sanctions, or it may come

“from the court, or from both.” Id. The notice itself must apprise the attorneys

charged with misconduct of “the precise rule, standard, or law that he or she is

alleged to have violated and how he or she allegedly violated it.” Id. at 1319. Once




                                           4
      Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 5 of 16




on notice, “the accused must be given an opportunity to respond, orally or in writing,

to the invocation of such sanctions and to justify his [or her] actions.” Id. at 1318.

II.    RULES, STANDARDS, AND CODES OF PROFESSIONAL CONDUCT APPLICABLE
       TO KATHLEEN HARTNETT

       Ms. Hartnett’s misconduct implicates the following rules, standards, and

codes of professional conduct. Where only part of a rule, standard, or code applies

to Ms. Hartnett’s conduct, the relevant language is set forth in bold.

       •     Prohibition Against Judge-Shopping. Courts throughout the country

prohibit attempts to manipulate or circumvent the random assignment of judges. This

is as true in the Eleventh Circuit as it is anywhere in the nation. See, e.g., In re

BellSouth Corp., 334 F.3d 941, 959 (11th Cir. 2003) (holding “that a contrivance to

interfere with the judicial assignment process constitutes a threat to the orderly

administration of justice” and that “attempts to manipulate the random assignment

of judges . . . constitute[s] a disruption of the orderly administration of justice.”).

       •     Federal Rule of Civil Procedure 11(b). Federal Rule of Civil

Procedure 11(b) prohibits attorneys from presenting any signed paper to the court

for an improper purpose:

       By presenting to the court a pleading, written motion, or other
       paper—whether by signing, filing, submitting, or later advocating
       it—an attorney or unrepresented party certifies that to the best of
       the person's knowledge, information, and belief, formed after an
       inquiry reasonable under the circumstances:



                                            5
    Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 6 of 16




            (1) it is not being presented for any improper purpose, such
            as to harass, cause unnecessary delay, or needlessly increase the
            cost of litigation;

            (2) the claims, defenses, and other legal contentions are
            warranted by existing law or by a nonfrivolous argument for
            extending, modifying, or reversing existing law or for
            establishing new law;
            (3) the factual contentions have evidentiary support or, if
            specifically so identified, will likely have evidentiary support
            after a reasonable opportunity for further investigation or
            discovery; and
             (4) the denials of factual contentions are warranted on the
            evidence or, if specifically so identified, are reasonably based on
            belief or a lack of information.

      •     Local Rule 83.1(f) of the Northern District of Alabama Local Rules.

Local Rule 83.1(f) prescribes the standards for professional conduct and obligations

applicable to attorneys in the Northern District of Alabama and provides as follows:

      Each attorney who is admitted to the bar of this court or who appears
      in this court pursuant to subsection (b) or (c) of this Rule is required to
      be familiar with, and shall be governed by, the Local Rules of this court;
      and, to the extent not inconsistent with the preceding, the Alabama
      Rules of Professional Conduct adopted by the Alabama Supreme Court;
      and, to the extent not inconsistent with the preceding, the American Bar
      Association Model Rules of Professional Conduct, except Rule 3.8(f)
      thereof. Acts and omissions by any such attorney which violate such
      standards, individually or in concert with any other persons, shall
      constitute misconduct, whether or not occurring in the course of an
      attorney-client relationship, and shall be grounds for discipline, as
      shall the commission by an attorney of any serious crime. Discipline
      under this Rule may consist of disbarment, suspension, censure,
      reprimand, removal from a particular case, ineligibility for
      appointment as court-appointed counsel, ineligibility to appear
      under subsections (b) and (c), monetary sanctions, or any other
      sanction the court may deem appropriate.
                                          6
    Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 7 of 16




      •     Local Rule 83.1(g) of the Middle District of Alabama. Local Rule

83.1(g) prescribes the standards for professional conduct and obligations applicable

to attorneys in the Middle District of Alabama and provides as follows:

      Standards for Professional Conduct; Obligations. Attorneys admitted to
      practice before this Court shall adhere to this Court's Local Rules, the
      Alabama Rules of Professional Conduct, the Alabama Standards for
      Imposing Lawyer Discipline, and, to the extent not inconsistent with
      the preceding, the American Bar Association Model Rules of
      Professional Conduct. Attorney misconduct, whether or not
      occurring in the course of an attorney/client relationship, may be
      disciplined by disbarment, suspension, reprimand, monetary
      sanctions, removal from this Court's roster of attorneys eligible for
      practice before this Court, or such other sanction as the Court may
      deem appropriate.

      •     Alabama Rules of Professional Conduct. Alabama Rule 1.2(a)

governs in part the scope of an attorney’s representation and the allocation of

authority between a client and a lawyer and provides as follows:

      A lawyer shall abide by a client's decisions concerning the
      objectives of representation, subject to paragraphs (c), (d) and (e),
      and shall consult with the client as to the means by which they are
      to be pursued. A lawyer shall abide by a client's decision whether to
      accept an offer of settlement of a matter. In a criminal case, the lawyer
      shall abide by the client's decision, after consultation with the lawyer,
      as to a plea to be entered, whether to waive jury trial and whether the
      client will testify.

      Alabama Rule 1.3 prohibits lawyers from “willfully neglect[ing] a
      legal matter entrusted to him.”

      Alabama Rule 1.4 governs a lawyer’s communications with his client
      and provides as follows:



                                         7
   Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 8 of 16




           (a) A lawyer shall keep a client reasonably informed about
           the status of a matter and promptly comply with reasonable
           requests for information.

           (b) A lawyer shall explain a matter to the extent reasonably
           necessary to permit the client to make informed decisions
           regarding the representation.

     Alabama Rule 3.3 requires candor toward the tribunal:
           (a) A lawyer shall not knowingly:

                 (1) Make a false statement of material fact or law to a
                 tribunal;

                 (2) Fail to disclose a material fact to a tribunal when
                 disclosure is necessary to avoid assisting a criminal or
                 fraudulent act by the client;

                 (3) Offer evidence that the lawyer knows to be false. If a
                 lawyer has offered material evidence and comes to know
                 of its falsity, the lawyer shall take reasonable remedial
                 measures.

           (b) The duties stated in paragraph (a) continue to the conclusion
           of the proceeding, and apply even if compliance requires
           disclosure of information otherwise protected by Rule 1.6.
           (c) A lawyer may refuse to offer evidence that the lawyer
           reasonably believes is false.
           (d) In an ex parte proceeding other than a grand jury
           proceeding, a lawyer shall inform the tribunal of all material
           facts known to the lawyer which will enable the tribunal to
           make an informed decision, whether or not the facts are
           adverse.

     •     The American Bar Association Model Rules of Professional

Conduct. Model Rule 1.2(a) governs in part the scope of an attorney’s



                                       8
    Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 9 of 16




representation and the allocation of authority between a client and a lawyer and

provides as follows:

      Subject to paragraphs (c) and (d), a lawyer shall abide by a client's
      decisions concerning the objectives of representation and, as
      required by Rule 1.4, shall consult with the client as to the means
      by which they are to be pursued. A lawyer may take such action on
      behalf of the client as is impliedly authorized to carry out the
      representation. A lawyer shall abide by a client's decision whether to
      settle a matter. In a criminal case, the lawyer shall abide by the client's
      decision, after consultation with the lawyer, as to a plea to be entered,
      whether to waive jury trial and whether the client will testify.

      Model Rule 1.3 requires a lawyer to “act with reasonable diligence and

promptness in representing a client.”

      Model Rule 1.4 governs a lawyer’s communications with his client and

provides as follows:

            (a) A lawyer shall:

                   (1) promptly inform the client of any decision or
                   circumstance with respect to which the client's
                   informed consent, as defined in Rule 1.0(e), is required
                   by these Rules;

                   (2) reasonably consult with the client about the means
                   by which the client's objectives are to be accomplished;

                   (3) keep the client reasonably informed about the
                   status of the matter;

                   (4) promptly comply with reasonable requests for
                   information; and

                   (5) consult with the client about any relevant limitation on
                   the lawyer's conduct when the lawyer knows that the client


                                          9
Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 10 of 16




               expects assistance not permitted by the Rules of
               Professional Conduct or other law.
        (b) A lawyer shall explain a matter to the extent reasonably
        necessary to permit the client to make informed decisions
        regarding the representation.
  Model Rule 3.3 requires candor toward the tribunal:

  (a) A lawyer shall not knowingly:

        (1) make a false statement of fact or law to a tribunal or fail
        to correct a false statement of material fact or law previously
        made to the tribunal by the lawyer;
        (2) fail to disclose to the tribunal legal authority in the controlling
        jurisdiction known to the lawyer to be directly adverse to the
        position of the client and not disclosed by opposing counsel; or
        (3) offer evidence that the lawyer knows to be false. If a lawyer,
        the lawyer’s client, or a witness called by the lawyer, has offered
        material evidence and the lawyer comes to know of its falsity,
        the lawyer shall take reasonable remedial measures, including, if
        necessary, disclosure to the tribunal. A lawyer may refuse to
        offer evidence, other than the testimony of a defendant in a
        criminal matter, that the lawyer reasonably believes is false.
  (b) A lawyer who represents a client in an adjudicative proceeding and
  who knows that a person intends to engage, is engaging or has engaged
  in criminal or fraudulent conduct related to the proceeding shall take
  reasonable remedial measures, including, if necessary, disclosure to the
  tribunal.

  (c) The duties stated in paragraphs (a) and (b) continue to the
  conclusion of the proceeding, and apply even if compliance requires
  disclosure of information otherwise protected by Rule 1.6.

  (d) In an ex parte proceeding, a lawyer shall inform the tribunal of
  all material facts known to the lawyer that will enable the tribunal
  to make an informed decision, whether or not the facts are adverse.



                                      10
   Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 11 of 16




      •      Oath of Admission to the Northern District of Alabama. To practice

in United States District Court for the Northern District of Alabama, all attorneys

must take the district’s oath of admission, which provides as follows:

      I do solemnly swear or affirm that I will support the Constitution of the
      United States and the Constitution of the State of Alabama; I will
      maintain the respect due to courts of justice and judicial officers; I
      will not counsel or maintain any suit or proceeding which shall appear
      to me to be unjust, nor any defense except such as I believe to be
      honestly debatable under the law of the land; I will employ for the
      purpose of maintaining the causes confided to me such means only
      as are consistent with truth and honor, and will never seek to
      mislead the judge or jury by an artifice or false statement of fact or
      law; I will maintain the confidence and preserve inviolate the secrets of
      my clients, and will accept no compensation in connection with their
      business except from them or with their knowledge and approval; I will
      abstain from all offensive conduct and advance no fact prejudicial to
      the honor or reputation of a party or witness unless required by the
      justice of the cause with which I am charged; and I will never reject for
      any consideration personal to myself the cause of the defenseless or
      oppressed, or delay any person's cause for lucre or malice

      •      Oath of Admission to the Middle District of Alabama. To practice

in United States District Court for the Middle District of Alabama, all attorneys must

take the district’s oath of admission, under which each attorney must swear or affirm

that he or she will

      support and defend the constitution and laws of the United States of
      America; that [he or she] will at all times maintain the respect due
      to courts of justice and judicial officers; that [he or she] will, when
      assigned as counsel for indigent litigants, conscientiously and fairly
      represent said litigants to the best of [his or her] professional ability;
      that [he or she] will never reject for any consideration personal to [him
      or herself] the cause of the defenseless or oppressed, and that [he or
      she] will at all times maintain a professional conduct in accordance

                                         11
       Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 12 of 16




         with the rules and orders of this court, the cannons of the American
         Bar Association and the Code of Ethics of the Alabama State Bar
         Association.

         •     Sworn Oath. On May 20, 2022, the Respondents all swore or affirmed

that the testimony they were about to give to the panel would “be the truth, the whole

truth, and nothing but the truth.”

III.     SANCTIONABLE CONDUCT

         Ms. Hartnett must show cause why she should not be sanctioned for violating

these rules, standards, and codes of professional conduct for each of the following

reasons:

         a. Judge-Shopping

         Ms. Hartnett must show cause why she should not be sanctioned for

attempting to manipulate the random case assignment procedures for the U.S.

District Courts for the Northern and Middle Districts of Alabama in violation of

controlling precedent, Rule 11 of the Federal Rules of Civil Procedure, and the rules

of professional conduct applicable in the Northern and Middle Districts of Alabama.

Ms. Hartnett’s response must account for the Panel’s findings, set forth in Section V

of its Report, that it was misconduct for:

   • Walker counsel, including Ms. Hartnett, to mark Walker related to a case
     closed one year earlier decided by a “favorable” judge;

   • Walker counsel, including Ms. Hartnett, to contact the chambers of Judge
     Thompson (who was never assigned to Walker) to directly and indirectly


                                             12
   Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 13 of 16




      influence or manipulate assignments away from Chief Judge Marks to Judge
      Thompson;

   • Walker counsel, including Ms. Hartnett, to attempt to persuade Ladinsky
     counsel to transfer the latter case to the Middle District to be before Judge
     Thompson;

   • All counsel, including Ms. Hartnett, to coordinate the dismissal of the Walker
     and Ladinsky cases after their assignment to the Court, and then for lead
     counsel to make clear that the case would be refiled when commenting to the
     media about re-filing;

   • All counsel, including Ms. Hartnett, to engage in numerous and wide-ranging
     discussions about how judges were favorable or unfavorable in the context of
     deciding whether to dismiss and refile their cases;

   • All counsel, including Ms. Hartnett, to suddenly dismiss Walker and Ladinsky
     after a series of phone conferences in which counsel discussed a number of
     matters, including their prospects in front of the Court and that the Court was
     a bad draw; and

   • All counsel, including Ms. Hartnett, to abruptly stop the pursuit of emergency
     relief and decide to dismiss, and for Ladinsky counsel to refile a case in the
     Middle District with brand new plaintiffs, even though time was of the essence
     and their stated goal was to move quickly to enjoin what they viewed as an
     unconstitutional law.

(Doc. 339 at 51-52).
      b. Misrepresentation and Non-Disclosure

      Ms. Hartnett must also show cause why she should not be sanctioned for

misrepresenting or otherwise failing to disclose key facts during the Panel’s inquiry

in violation of controlling precedent, Rule 11 of the Federal Rules of Civil

Procedure, the rules of professional conduct applicable in the Northern and Middle




                                         13
   Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 14 of 16




Districts of Alabama, the Oaths of Admission for the Northern and Middle Districts

of Alabama, and their sworn oaths.

      Ms. Hartnett’s response must address any findings in Section IV of the Panel’s

Report implicating her credibility or any discrepancies between her own oral and

written testimony and the oral and written testimony of all other attorneys who

testified before the Panel.

      Her response must also address the Panel’s finding in Section V that it was

misconduct for all counsel, including Ms. Hartnett, to claim “that the dismissal was

because Judge Axon did not explain the reassignment of Ladinsky and [the Court]

set Walker for a status conference in Huntsville on April 18.” (Doc. 339 at 52).

      c. Breach of Attorney-Client Duties

      Ms. Hartnett must also show cause why she should not be sanctioned for

failing to seek or secure her clients’ consent in violation of Federal Rule of Civil

Procedure 11 and the rules of professional conduct applicable in the Northern and

Middle Districts of Alabama before dismissing Walker v. Marshall. Ms. Hartnett’s

response must address the Panel’s finding that “Walker counsel did not request

permission to dismiss from their clients, or even inform their clients of [Walker’s]

dismissal until after [the dismissal] was filed.” (Doc. 339 at 40-41).




                                          14
      Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 15 of 16




IV.     POSSIBLE SANCTIONS FOR KATHLEEN HARTNETT

        For the acts and omissions described above, Ms. Hartnett is hereby notified

that the Court may consider one or more of several possible sanctions, as appropriate,

including suspension from practice in the Northern and Middle Districts of Alabama;

censure; public or private reprimand; disqualification; ineligibility for appointment

as court-appointed counsel; ineligibility to appear pro hac vice or on behalf of the

United States in the Northern and Middle Districts of Alabama; and monetary

sanctions.

V.      CONCLUSION

        The Court therefore ORDERS as follows:

        Kathleen Hartnett must show good cause, if any there may be, why she should

not be sanctioned for the conduct identified in this order, in Section II of the Court’s

previous order to show cause, and the Panel’s Final Report of Inquiry.

        As the Court has emphasized throughout these proceedings, if Ms. Hartnett

accepts full or partial responsibility for her misconduct, she may explain with

specificity the misconduct for which she accepts responsibility and comment on the

appropriate sanction in her response to this order.

        Ms. Hartnett’s show-cause brief is due by May 11, 2024.

        In a separate filing, Ms. Hartnett must identify those portions of all other

Respondents’ briefs with which she agrees or disagrees by May 21, 2024.


                                          15
   Case 2:22-cv-00184-LCB-CWB Document 479 Filed 05/01/24 Page 16 of 16




      Any submissions in response to this order must be filed by May 8, 2024.

      The Court will hold a hearing on May 23, 2024 at 9:30 a.m. in Courtroom

2F of the U.S. Courthouse in Montgomery, Alabama to discuss factual and

procedural issues for the show-cause hearing. The May 22 hearing, however, is

CANCELLED. Given the objections and motion practice that followed the first

show-cause order and the volume of work that these entailed, the show-cause

hearing is RESET for 9:30 a.m. on June 27 and 28, 2024 in Courtroom 2F of the

U.S. Courthouse in Montgomery, Alabama. Ms. Hartnett must appear with

counsel on all three dates.

      DONE and ORDERED this May 1, 2024.



                                  _________________________________
                                  LILES C. BURKE
                                  UNITED STATES DISTRICT JUDGE




                                       16
